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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
_____________________________________________________________________________

UNITED STATES OF AMERICA,

       Plaintiff,

              v.                                                  Cr. No. 1:17-cr-10105 STA

KENNETH GARRETT,

      Defendant.
______________________________________________________________________________

       ORDER CONTINUING SENTENCING AND NOTICE OF RESETTING
______________________________________________________________________________

       This cause came upon the motion of Defendant to continue the sentencing. For good

cause shown, the Court hereby grants the motion of Defendant.

IT IS THEREFORE ORDERED, ADJUDGED and decreed that Defendant’s motion is granted

and the sentencing shall be continued to the 7th day of June, 2019 at 9:30 A.M.

       IT IS SO ORDERED, this the 29th of April, 2019.



                                                   s/S. Thomas Anderson
                                                   S. Thomas Anderson
                                                   CHIEF U.S. DISTRICT JUDGE
